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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            CAMDEN VICINAGE


    CORCEPT THERAPEUTICS, INC.,

                       Plaintiff,                    Civil Action No. 18-03632
                                                    (RMB/LDW) (consolidated)
           v.
                                                               ORDER
    TEVA PHARMACEUTICALS USA,
    INC.,

                       Defendant.

       THIS MATTER comes before the Court upon its Trial Order of April 28, 2023.

 [Docket No. 240.] Due to a change in the Court’s schedule, the bench trial in this

 matter will commence a day earlier than planned. In advance of the trial, the Court

 will hold a status conference via Microsoft Teams. Accordingly,

       IT IS this 30th day of August 2023 hereby:

       1.       ORDERED that the Court’s April 28, 2023 Trial Order [Docket No. 240]

 is AMENDED, and the trial of this action shall commence on Tuesday, September

 26, 2023, at 9:30 a.m. in Courtroom 1 of the United States Post Office and

 Courthouse, 401 Market Street, 3rd Floor, Camden, New Jersey 08101; and it is

 further

       2.       ORDERED that the Court will hold a status conference via Microsoft

 Teams on Thursday, September 14, 2023, at 1:00 p.m. and the Court will send the

 Teams link to Counsels’ e-mail addresses as they appear on the docket; and it is finally

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        3.     ORDERED that the Court will not consider motions in limine; all

 evidentiary matters shall be raised at trial.

                                                     s/Renée Marie Bumb
                                                     Renée Marie Bumb
                                                     Chief United States District Judge




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